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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.       CV 20-10051-MWF(PVCx)                                     Dated: August 29, 2022

Title:         James Shayler -v- MMWH Group, LLC, et al.

PRESENT:       HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

               Rita Sanchez                             Amy Diaz
               Courtroom Deputy                         Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:

               Valerie Bradbury                         Ara Sahelian


PROCEEDINGS:                IN PERSON MOTION FOR SUMMARY JUDGMENT [93]

         The Courtroom Deputy Clerk issues the Court's tentative ruling, prior to the hearing.

       Case called, and counsel make their appearance. The Court invites counsel to present
their oral arguments. Arguments by counsel are heard. For the reasons stated on the record,
the Court takes the matter under submission. An order will issue.




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